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                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF NEW YORK


       In re: Carfora, Frank V                                        §    Case No. 816-71745
              Carfora, Roxanne G                                      §
                                                                      §
   Debtor(s)                                                          §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         Marc A. Pergament, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $1,033,483.00                        Assets Exempt: $0.00
 (without deducting any secured claims)
 Total Distribution to Claimants:$5,993.79             Claims Discharged
                                                       Without Payment: $7,776,775.47

 Total Expenses of Administration:$4,006.21


         3) Total gross receipts of $     10,000.00      (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $       0.00    (see Exhibit 2  ), yielded net receipts of $10,000.00
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                       $1,213,207.00        $560,480.13              $0.00             $0.00

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00           4,006.21           4,006.21          4,006.21

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                114,549.20          87,672.02          87,672.02          5,993.79
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                  7,730,898.92          99,202.15          99,202.15                 0.00

                                        $9,058,655.12        $751,360.51        $190,880.38        $10,000.00
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on April 21, 2016.
  The case was pending for 18 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 10/26/2017                 By: /s/Marc A. Pergament
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                           UNIFORM                               $ AMOUNT
               DESCRIPTION
                                                                                          TRAN. CODE 1                           RECEIVED
     FRAUDULENT CONVEYANCE DEENA CARFORA                                                  1241-000                                 10,000.00


    TOTAL GROSS RECEIPTS                                                                                                          $10,000.00

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                           UNIFORM                               $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                          TRAN. CODE                                PAID
                                                                  None

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                              $0.00
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED               CLAIMS                  CLAIMS          CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form            ASSERTED                ALLOWED           PAID
                                                       CODE                6D)
           3      Internal Revenue Service             4110-000            N/A                   110,480.13               0.00                  0.00

           8      Source Ventures LLC                  4110-000             450,000.00           450,000.00               0.00                  0.00

 NOTFILED         Bk of Amer                           4110-000             727,964.00            N/A                   N/A                     0.00

 NOTFILED         Citibankna                           4110-000              33,269.00            N/A                   N/A                     0.00

 NOTFILED         MB Fun Svcs                          4210-000                1,974.00           N/A                   N/A                     0.00


    TOTAL SECURED CLAIMS                                                 $1,213,207.00          $560,480.13              $0.00                 $0.00




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EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                        UNIFORM
    PAYEE                                             CLAIMS              CLAIMS             CLAIMS       CLAIMS
                                         TRAN.
                                                     SCHEDULED           ASSERTED           ALLOWED        PAID
                                         CODE
 Trustee Compensation - Marc A. Pergament   2100-000            N/A              1,750.00      1,750.00      1,750.00

 Trustee Expenses - Marc A. Pergament       2200-000            N/A                  8.97          8.97          8.97

 Attorney for Trustee Fees (Trustee Firm) - 3110-000            N/A              2,000.00      2,000.00      2,000.00
 Weinberg, Gross & Pergament LLP
 Attorney for Trustee Expenses (Trustee     3120-000            N/A                117.85        117.85       117.85
 Firm) - Weinberg, Gross & Pergament LLP
 Other - Rabobank, N.A.                     2600-000            N/A                 10.00         10.00        10.00

 Other - Rabobank, N.A.                     2600-000            N/A                 15.76         15.76        15.76

 Other - Rabobank, N.A.                     2600-000            N/A                 14.30         14.30        14.30

 Other - Rabobank, N.A.                     2600-000            N/A                 13.80         13.80        13.80

 Other - Rabobank, N.A.                     2600-000            N/A                 15.21         15.21        15.21

 Other - International Sureties, Ltd.       2300-000            N/A                  2.91          2.91          2.91

 Other - Rabobank, N.A.                     2600-000            N/A                 14.24         14.24        14.24

 Other - Rabobank, N.A.                     2600-000            N/A                 15.20         15.20        15.20

 Other - Rabobank, N.A.                     2600-000            N/A                 13.28         13.28        13.28

 Other - Rabobank, N.A.                     2600-000            N/A                 14.69         14.69        14.69

 TOTAL CHAPTER 7 ADMIN. FEES                              N/A                  $4,006.21      $4,006.21     $4,006.21
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                        UNIFORM
    PAYEE                                             CLAIMS              CLAIMS             CLAIMS       CLAIMS
                                         TRAN.
                                                     SCHEDULED           ASSERTED           ALLOWED        PAID
                                         CODE
                                                   None

 TOTAL PRIOR CHAPTER ADMIN.                               N/A                       $0.00        $0.00         $0.00
 FEES AND CHARGES


EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                        UNIFORM       CLAIMS              CLAIMS
   CLAIM                                             SCHEDULED           ASSERTED            CLAIMS       CLAIMS
    NO.           CLAIMANT               TRAN.         (from Form       (from Proofs of     ALLOWED        PAID
                                         CODE              6E)               Claim)
      3 -2 Internal Revenue Service     5800-000           114,549.20          87,672.02      87,672.02      5,993.79

 TOTAL PRIORITY UNSECURED                                 $114,549.20         $87,672.02     $87,672.02     $5,993.79
 CLAIMS


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EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                        UNIFORM     CLAIMS              CLAIMS
   CLAIM                                           SCHEDULED           ASSERTED             CLAIMS       CLAIMS
    NO.           CLAIMANT               TRAN.      (from Form        (from Proofs of      ALLOWED        PAID
                                         CODE           6F)                Claim)
      1    American InfoSource LP as   7100-000        N/A                        533.41        533.41        0.00
           agent for
      2    Quantum3 Group LLC as agent 7100-000              721.00               721.37        721.37        0.00
           for
      3 -2 Internal Revenue Service    7100-000        N/A                   22,808.11       22,808.11        0.00

      4     Financial Pacific Leasing   7100-000         12,000.00             7,622.46       7,622.46        0.00

      5     Suffolk Vascular            7100-000             275.31               818.42        818.42        0.00

      6     Provision Diagnostics       7100-000       N/A                   25,680.00       25,680.00        0.00

      7     Department Store National   7100-000       N/A                        689.09        689.09        0.00
            Bank
      9     Luis Khoury Inc             7100-000         40,329.29           40,329.29       40,329.29        0.00

 NOTFILED   Unsecured Claims            7100-000      7,677,573.32          N/A                 N/A           0.00

 TOTAL GENERAL UNSECURED                             $7,730,898.92          $99,202.15      $99,202.15       $0.00
 CLAIMS




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                                                                                                                                                                         Exhibit 8


                                                                                     Form 1                                                                              Page: 1

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 816-71745                                                                       Trustee:         (521140)     Marc A. Pergament
Case Name:         Carfora, Frank V                                                          Filed (f) or Converted (c): 04/21/16 (f)
                   Carfora, Roxanne G                                                        §341(a) Meeting Date:         06/07/16
Period Ending: 10/26/17                                                                      Claims Bar Date:              09/19/16

                              1                                              2                           3                      4               5                   6

                    Asset Description                                  Petition/               Estimated Net Value          Property       Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                    Unscheduled          (Value Determined By Trustee,    Abandoned       Received by      Administered (FA)/
                                                                        Values               Less Liens, Exemptions,       OA=§554(a)       the Estate       Gross Value of
Ref. #                                                                                           and Other Costs)                                           Remaining Assets

 1       REAL PROPERTY                                                    1,010,000.00                  1,010,000.00                                 0.00                    FA

 2       2011 MERCEDES BENZ (See Footnote)                                    8,283.00                           1.00                                0.00                    FA

 3       HOUSEHOLD GOODS AND FURNISHINGS                                      2,500.00                       2,500.00                                0.00                    FA

 4       ELECTRONICS                                                          2,500.00                       2,500.00                                0.00                    FA

 5       WEARING APPAREL                                                      1,500.00                       1,500.00                                0.00                    FA

 6       JEWELRY                                                              1,500.00                       1,500.00                                0.00                    FA

 7       CASH ON HAND                                                            250.00                       250.00                                 0.00                    FA

 8       BANK ACCOUNTS                                                           150.00                       150.00                                 0.00                    FA

 9       INTEREST IN BUSINESS                                                Unknown                             0.00                                0.00                    FA

10       INTEREST IN BUSINESS                                                      0.00                          0.00                                0.00                    FA

11       IRA                                                                  5,300.00                       5,300.00                                0.00                    FA

12       LICENSES, FRANCHISES, OTHER GENERAL                                       0.00                          0.00                                0.00                    FA
         INTANGIBLES

13       AMERICAN GENERAL INSURANCE TERM POLICY                                    0.00                          0.00                                0.00                    FA

14       POTENTIAL MALPRATICE CLAIM AG                                       Unknown                             0.00                                0.00                    FA
         KIRSCHENBAUM

15       BREACH OF CONTRACT CLAIM DAVID HECKLER                              Unknown                             0.00                                0.00                    FA
         MD

16       MEDICAL EQUIPMENT                                                    1,500.00                       1,500.00                                0.00                    FA

17       FRAUDULENT CONVEYANCE DOWLING COLLEGE                                     0.00                          1.00                                0.00                    FA
         (u) (See Footnote)

18       FRAUDULENT CONVEYANCE SUFFOLK                                             0.00                          1.00                                0.00                    FA
         COMMUNITY COLLEGE (u) (See Footnote)

19       FRAUDULENT CONVEYANCE DEENA CARFORA                                       0.00                          1.00                           10,000.00                    FA
         (u) (See Footnote)

20       TAX REFUNDS (u) (See Footnote)                                            0.00                          1.00                                0.00                    FA

 20      Assets     Totals (Excluding unknown values)                 $1,033,483.00                  $1,025,205.00                             $10,000.00                 $0.00


      RE PROP# 2       Value identified strictly for reporting purposes
      RE PROP# 17      Value identified strictly for reporting purposes


                                                                                                                                          Printed: 10/26/2017 12:40 PM    V.13.30
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                                                                                                                                                                          Exhibit 8


                                                                               Form 1                                                                                     Page: 2

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 816-71745                                                                Trustee:       (521140)       Marc A. Pergament
Case Name:       Carfora, Frank V                                                     Filed (f) or Converted (c): 04/21/16 (f)
                 Carfora, Roxanne G                                                   §341(a) Meeting Date:         06/07/16
Period Ending: 10/26/17                                                               Claims Bar Date:              09/19/16

                              1                                            2                     3                       4                    5                       6

                    Asset Description                                  Petition/        Estimated Net Value          Property            Sale/Funds           Asset Fully
         (Scheduled And Unscheduled (u) Property)                    Unscheduled   (Value Determined By Trustee,    Abandoned            Received by       Administered (FA)/
                                                                        Values        Less Liens, Exemptions,       OA=§554(a)            the Estate        Gross Value of
Ref. #                                                                                    and Other Costs)                                                 Remaining Assets

     RE PROP# 18       Value identified strictly for reporting purposes
     RE PROP# 19       Value identified strictly for reporting purposes
     RE PROP# 20       Value identified strictly for reporting purposes



     Major Activities Affecting Case Closing:

                TFR Submitted 4/17
                TDR Submitted 10/17

                Interest in Fraudulent Conveyances (3), Tax Refunds and 2011 Mercedes GLK

     Initial Projected Date Of Final Report (TFR):       December 31, 2018              Current Projected Date Of Final Report (TFR):       April 20, 2017 (Actual)




                                                                                                                                        Printed: 10/26/2017 12:40 PM       V.13.30
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                                                                                                                                                                                Exhibit 9


                                                                                   Form 2                                                                                        Page: 1

                                                        Cash Receipts And Disbursements Record
Case Number:        816-71745                                                                       Trustee:            Marc A. Pergament (521140)
Case Name:          Carfora, Frank V                                                                Bank Name:          Rabobank, N.A.
                    Carfora, Roxanne G                                                              Account:            ******3466 - Checking Account
Taxpayer ID #: **-***4576                                                                           Blanket Bond:       $44,643,604.00 (per case limit)
Period Ending: 10/26/17                                                                             Separate Bond: N/A

   1            2                           3                                        4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction                T-Code              $                  $       Account Balance
07/22/16      {19}       Frank Carfora                       Fraudulent Conveyance Deena Carfora               1241-000            10,000.00                                10,000.00
07/29/16                 Rabobank, N.A.                      Bank and Technology Services Fee                  2600-000                                        10.00            9,990.00
08/31/16                 Rabobank, N.A.                      Bank and Technology Services Fee                  2600-000                                        15.76            9,974.24
09/30/16                 Rabobank, N.A.                      Bank and Technology Services Fee                  2600-000                                        14.30            9,959.94
10/31/16                 Rabobank, N.A.                      Bank and Technology Services Fee                  2600-000                                        13.80            9,946.14
11/30/16                 Rabobank, N.A.                      Bank and Technology Services Fee                  2600-000                                        15.21            9,930.93
12/23/16      101        International Sureties, Ltd.        BOND PREMIUM PAYMENT ON LEDGER                    2300-000                                         2.91            9,928.02
                                                             BALANCE AS OF 12/23/2016 FOR CASE
                                                             #816-71745, Bond # 016027942
12/30/16                 Rabobank, N.A.                      Bank and Technology Services Fee                  2600-000                                        14.24            9,913.78
01/31/17                 Rabobank, N.A.                      Bank and Technology Services Fee                  2600-000                                        15.20            9,898.58
02/28/17                 Rabobank, N.A.                      Bank and Technology Services Fee                  2600-000                                        13.28            9,885.30
03/31/17                 Rabobank, N.A.                      Bank and Technology Services Fee                  2600-000                                        14.69            9,870.61
08/28/17      102        Weinberg, Gross & Pergament LLP     Dividend paid 100.00% on $2,000.00, Attorney      3110-000                                    2,000.00             7,870.61
                                                             for Trustee Fees (Trustee Firm); Reference:
08/28/17      103        Weinberg, Gross & Pergament LLP     Dividend paid 100.00% on $117.85, Attorney        3120-000                                       117.85            7,752.76
                                                             for Trustee Expenses (Trustee Firm);
                                                             Reference:
08/28/17      104        Marc A. Pergament                   Dividend paid 100.00% on $1,750.00, Trustee       2100-000                                    1,750.00             6,002.76
                                                             Compensation; Reference:
08/28/17      105        Marc A. Pergament                   Dividend paid 100.00% on $8.97, Trustee           2200-000                                         8.97            5,993.79
                                                             Expenses; Reference:
08/28/17      106        Internal Revenue Service            Dividend paid 6.83% on $87,672.02; Claim# 3 5800-000                                          5,993.79                 0.00
                                                             -2; Filed: $87,672.02; Reference:

                                                                                  ACCOUNT TOTALS                                   10,000.00              10,000.00               $0.00
                                                                                          Less: Bank Transfers                           0.00                   0.00
                                                                                  Subtotal                                         10,000.00              10,000.00
                                                                                          Less: Payments to Debtors                                             0.00
                                                                                  NET Receipts / Disbursements                    $10,000.00            $10,000.00




{} Asset reference(s)                                                                                                                        Printed: 10/26/2017 12:40 PM        V.13.30
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                                                                                                                                                                          Exhibit 9


                                                                             Form 2                                                                                       Page: 2

                                                  Cash Receipts And Disbursements Record
Case Number:        816-71745                                                                 Trustee:            Marc A. Pergament (521140)
Case Name:          Carfora, Frank V                                                          Bank Name:          Rabobank, N.A.
                    Carfora, Roxanne G                                                        Account:            ******3466 - Checking Account
Taxpayer ID #: **-***4576                                                                     Blanket Bond:       $44,643,604.00 (per case limit)
Period Ending: 10/26/17                                                                       Separate Bond: N/A

   1            2                          3                                   4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                     Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From              Description of Transaction              T-Code              $                  $       Account Balance

                                Net Receipts :       10,000.00
                                                 ————————                                                                       Net             Net                   Account
                                  Net Estate :      $10,000.00               TOTAL - ALL ACCOUNTS                             Receipts     Disbursements              Balances

                                                                             Checking # ******3466                           10,000.00              10,000.00                0.00

                                                                                                                            $10,000.00            $10,000.00                $0.00




{} Asset reference(s)                                                                                                                  Printed: 10/26/2017 12:40 PM        V.13.30
